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UNITED STA'I`ES DISTRICT COURT
l\/III)DLE DISTRICT OF FLORIDA
FT. MYERS DIVISI()N
ELAYNE WHITEHEAD,

Plaintiff, CASE NO.:
V.
OCWEN I_,OAN SERVICING. LLC.

Defendant.
/

COMPLAINT AND DEMANI) FOR JURY TRIAL

COMES NOW Plaintiffq ELAYNE WHITEHEAD, by and throuin the undersigned
counsel, and sues Defendant, OCWEN LOAN SERVICING, LLC. and in support thereof
respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 er
.s'eq. (“TCPA") and the Florida Consunier Collection Practices Act, Fla. Stat. § 559.55 et ireq.
(“FCCPA”).

MQ.LIB)_N.

l. The TCPA was enacted to prevent companies like OCWEN LOAN SERVICING,
LLC from invading American citizen`s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone c-alls."’ Mims v. Arrt)w Fin. LS`crv.s'., LLC, -US--, 132 S.Ct., 740, 745, 181,
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA`s sponsor, described these calls as ‘the scourge of
modern civilization, they wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they bound us until we want to rip the telephone out of the
wall."" 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

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subscribers another option: telling the autodialers to simply stop calling.” Osorio v. Smre Fc.'rm
B¢mk, F.s.B., 746 F_ 3d 1242, 1256 (1 i"‘ Cir. 2014).

4. ‘*No one can deny the legitimacy of the state`s goal: Preventing the (at home or in
one’s pocket) from frequently ringing with unwanted calls. Every call use some of the phone
owner’s time and metal energy, both of which are precious l\/lost members of the public want to
limit calls, especially cellular telephone calls. to family and acquaintances, and to get their
political information (not to mention their advertisements) [*6] in other Ways." Patriotic
Veterans v. Zoeller, No, 16-2059, 2017 U.S. LEXIS47, at *5-6 (7th Cir. Jan 3, 2017)

5. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014." Fc;'ct Sheet.‘ Whee!er Proposcu' m Pro!ecl and Empower Consz.rmers
Again.s'r Unwanred Robr)ccill.s', Texts 10 Wc'reless Phones, Federal Communications Commission.
(l\/lay 27, 2015), http://transition.fcc.gov/Dailv Releases/Dailv Business/ZO]5/db0527/DOC-
333676A1.pdf.

JURISDICTION AND VENUE

6. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, Fedcral Question Jurisdiction, as this action involves violations ofthe TCPA.

7. Sub_iect matter jurisdiction federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

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Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorfo v. Slale Farm chk\ F.S.B.,
746 rad 1242, 1249 (11“‘ cir_ 2014)

8. The alleged violations described herein occurred in Lee County, Florida.
Aecordingly, venue is appropriate with this Court under 28 U.S.C. §1391(13)(2) as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person` and citizen of the State of Florida, residing in Lee
County, Florida

10. Plaintiffis a “consumer"` as defined in Florida Statute § 559.55(8).

1 1. Plaintiff is an “alleged debtor."

12. Plaintiff is the “called party.” See Bresfr)w v. Wet.'ls Far'go chk, N.A., 755 F. 3d
1265 (l ith Cir. 2014) and ()sorio v. Smle Farm chk. F.S.B., 746 F.3d 1242 (11lh Cir. 2014).

13. Defendant is a corporation which was formed in Florida with its principal place of
business located at 1661 Worthington Road Suite 100 West Palm Beach, Florida 33409 and
which conducts business through its registered agent, Corporation Service Company located at

1201 Hays Street Tallahassee, Florida 32301.

14. The debt that is the subject matter of this Complaint is a L"consumer debt"' as

defined by Florida Statute §559.55(6).
15. Defendant is a “creditor” as defined in Florida Statute §559.55(5).

16. Plaintiff is the subscribcr, regular user and carrier of the cellular telephone

number (239) ***-6697 and was the called party and recipient of Defendant"s calls.

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17. ln or about June of 2014. Plaintiff began receiving telephone calls to her
aforementioned cellular telephone number from Defendant seeking to recover an alleged debt.

18. Upon receipt of the calls from Defendant. Plaintiff`s caller lD identified the calls
were being initiated from, but not limited tot the following telephone numbers {800) 746-2936`
(866) 317-7661 and (331) 200-7226.

19. Defendant placed an exorbitant number of automatic calls to Plaintiff" s cellular
telephone (239) ***-6697 in an attempt to collect on a home loan.

20. Upon information and belief, some or all of the calls the Defendant made to
Plaintiff’s cellular telephone number were made using an "‘automatic telephone dialing system”
which has the capacity to store or produce telephone numbers to be called. using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice', and to dial such numbers as specified by 47 U.S.C § 227(a)(l) (hereinafter
“autodialer calls"). Plaintiff will testify that she knew it was an autodialer because of the vast
number of calls she received and because she heard a pause when she answered her phone before
a voice came on the line from Defendant

21. Furthermore, some or all the calls at issue were placed by Defendant using a
"*prerecorded voice as specified by the TCPA. 47 U.S.C. § 227 (B)(l)(A).

22. Defendant attempted to collect an alleged debt from Plaintiff by this campaign of
telephone calls.

23. On several occasions over the last four (4) years Plaintiff instructed Defendant`s
agent/representative to stop calling her cellular telephone

24. ln or about January of 2018, Plaintil`f answered a call from Defendant to her

aforementioned cellular telephone numbcr, met with an extended pause, held the line and was

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eventually connected to a live representative of Defendant. Plaintiff explained her current
situation and that she would pay the bill when she is able to make a payment Plaintiff then
demanded Defendant`s agent/representative to stop calling her cellular telephone number.

25. During that aforementioned call with Defendant’s agent/representative in or about
January of 2018, Plaintiff unequivocally revoked any express consent Defendant may have had
for placement of telephone calls Plaintiff"s aforementioned cellular telephone number by the use
of an automatic telephone dialing system or a pre-recorded or artificial voice.

26. Each subsequent call Defendant made to Plaintiff’s aforementioned cellular
telephone number was done so without the “express consent” of the Plaintiff

27. Despite clearly and unequivocally revoking any consent Defendant may have
believed they had to call Plaintiff on her cellular telephone, Defendant continues to place
automated calls to Plaintiff.

28. None of the Defendant"s telephone calls placed to Plaintiff were placed for
"emergency purposes" as specified in 47 U.S.C. § 227(b)(1)(A).

29. Defendant called Plaintiff on Plaintiff"s cellular telephone approximately one
hundred (100) times in an attempt to collect a debt.

30. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as it did to Plaintiff"s cellular telephone in
this casc.

31. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice just as it did to Plaintist cellular telephone in this case, with no

way for the consumer1 Plaintiff` or Defendant to remove the number.

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32. Defendant’s corporate policy is structured so as to continue to call individuals like
Plaintiff; despite these individuals explaining to Defendant they wish for the calls to stop.

33. Defendant has numerous other federal lawsuits pending against it alleging similar
violations as stated in this Complaint.

34. Defendant has numerous complaints across the country against it asserting that its
automatic telephone dialing system continues to call despite requested to stop.

35. Defendant has had numerous complaints from consumers across the country
against it asking to not be called; however_. Defendant continues to call the consumers

36. Defendant’s corporate policy provided no means for Plaintiff to have her number
removed from Defendant`s call list.

37. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

38. Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff

39. From each and every call placed without consent by Defemdant to Plaintiff"s
cellular telephone. Plaintiff suffered the injury of invasion of privacy and the intrusion upon her
right of seclusion.

40. From each and every call without express consent placed by Defendant to
Plaintiff"s cellular telephone, Plaintiff suffered the injury of occupation of her cellular telephone
line and cellular telephone by unwelcome calls, making the phone unavailable for legitimate
callers or outgoing calls while the phone was ringing from Defendant`s calls.

41. From each and every call placed without express consent by Defendant to
Plaintiffs cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of her time.

For calls she answered, the time she spent on the call was unnecessary as she repeatedly asked

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for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the phone
and deal with missed call notifications and call logs that reflected the unwanted calls. This also
impaired the usefulness of these features of Plaintiff"s cellular phone, which are designed to
inform the user of important missed communications

42. Each and every call placed without express consent by Defendant to Plaintiff`s
cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls
that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for
unanswered calls` Plaintiff had to waste time to unlock the phone and deal with missed call
notilications and call logs that reflected the unwanted calls. This also impaired the usefulness of
these features of Plaintiff`s cellular telephone, which are designed to inform the user of
important missed communications

43. Each and every call placed without express consent by Defendant to Plaintiffs
cellular telephone resulted in the injury of unnecessary expenditure of Plaintiff"s cellular phone`s
battery power.

44. Each and every call placed without express consent by Defendant to Plaintiff`s
cellular telephone where a voice message was left which occupied space in Plaintiff"s telephone
or network

45. Eaeli and every call placed without express consent by Defendant to Plaintiffs
cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel, namely her cellular
telephone and her cellular phone services

46. As a result of the calls described above, Plaintiff suffered an invasion of privaey.
Plaintiff was also affect in a personal and individualized way by stress from the constant calls

made by Defendant Plaintiff also suffers from sleep deprivation and these calls made by

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Defendant to her cellular telephone cause sleepless nighls. This in turn affected her daily ability

to function effectively at work and with her kids.

COUNT I
(Violation of the TCPA)

47. Plaintiff fully incorporates and re-allcges paragraphs one (1) through forty-six
(46) as if fully set forth herein.

48. Defendant willfully violated the TCPA with respect to Plaintiff, especially for
each of the auto-dialer calls made to Plaintiff"s cellular telephone after Plaintiff notified
Defendant that she wished for the calls to stop.

49. Defendant repeatedly placed non-emergency telephone calls to Plaintiff's cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WHEREFORE. Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against OCWEN LOAN SERVICll\lGq LLC for statutory damages, punitive damages,
actual damages treble damages, enjoinder from further violations of these parts and any other

such relief the court may deem just and proper

COUNT ll
(Violation of the FCCI’A)

50. Plaintiff fully incorporates and re-alleges paragraphs one (l) through forty-six
(46) as if fully set forth herein
51. At all times relevant to this action Defendnat is subject to and must abide by the

laws ofthe State of Florida. including Flerida Statute § 559.72.

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52. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his or her family with such frequency as can reasonably be
expected to harass the debtor or his or her family

53. Defendnat has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of his or
her family.

54. Defendant’s actions have directly and proximately resulted in Plaintiff"s prior and
continuous sustaining of damages as described by Florida Statute § 5 59.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against OCWEN LOAN SERV[CING, LLC for statutory damages, punitive damages,
actual damages costs, interest, attorney fees, enjoinder from further violations of these parts and
any other such relief the court may deem just and proper

Respectfully submitted,

/s/ Octavio Gonzez
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